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                 UNITED STATES DISTRICT COURT FOR THE
                       DISTRICT OF NEW HAMPSHIRE



United States of America

     v.                                Criminal No. 06-cr-155-01-JD

Kim Paul

                               O R D E R

     Defendant appeared for a bail revocation hearing pursuant to

18 U.S.C. § 3148.

     Defendant does not contest the drug violations - three

cocaine uses - but did contest whether she had been discharged by

Serenity Place.    Peter Dalbert testified that she was discharged

and was not welcome back.     Given the number of failed

opportunities to comply with conditions I find that the defendant

is unlikely to abide by any condition or combination of

conditions.   The conditions of release are revoked.

     Accordingly, it is ORDERED that the defendant be detained

pending trial.

     The defendant is committed to the custody of the Attorney

General or his designated representative for confinement in a

corrections facility separate, to the extent practicable, from

persons awaiting or serving sentences or being held in custody

pending appeal.    The defendant shall be afforded a reasonable
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opportunity for private consultation with defense counsel.                 On

order of a court of the United States or on request of an

attorney for the government, the person in charge of the

corrections facility shall deliver the defendant to the United

States Marshal for the purpose of an appearance in connection

with a court proceeding.

      SO ORDERED.

                                  ___________________________________
                                  James R. Muirhead
                                  United States Magistrate Judge

Date: November 14, 2006

cc:    Helen W. Fitzgibbon, Esq.
       Bjorn R. Lange, Esq.
       David A. Vicinanzo, Esq.
       U.S. Marshal
       U.S. Probation




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